Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 1 of 12
Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 2 of 12
Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 3 of 12
Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 4 of 12
Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 5 of 12
Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 6 of 12
                        Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19    Page 7 of 12


Property Record - 35-22-27-                                                 Orange County Property Appraiser •
                                                                                           http://www.ocpafl.org
3225-00-960
Property Summary as of 04/18/2019
 Property Name
 1013 Araminta St
                                     Mailing Address
 Names
                                     1013 Araminta St
 Matos Manuel J
                                     Winter Garden, FL 34787-6525
 Matos Katlenn I
                                     Physical Address
 Municipality
                                     1013 Araminta St
 WG - Winter Garden
                                     Winter Garden, FL 34787
 Property Use
 0103 - Single Fam Class III                                                      QR Code For Mobile Phone




Value and Taxes
Historical Value and Tax  Benefits
                     Case 6:19-bk-02183-KSJ      Doc 8-1   Filed 04/18/19   Page 8 of 12

Tax Year
                          Land           Building(s)           Feature(s)       Market Value          Assessed Value
Values
2018                   $45,000       +     $150,624        +      $7,500 = $203,124 (2.0%) $200,940 (10%)
2017                   $45,000       +     $146,649        +      $7,500 = $199,149 (20%) $182,673 (10%)
2016                   $30,000       +     $128,566        +      $7,500 = $166,066 (.72%) $166,066 (33%)
2015                   $30,000       +     $131,871        +      $3,000 = $164,871        $124,771

                             Original                                 Other
Tax Year Benefits                     Additional Hx                                    SOH Cap           Tax Savings
                           Homestead                              Exemptions
2018                              n/a            n/a                     n/a                    n/a              $21
2017                              n/a            n/a                     n/a                    n/a             $154
2016                              n/a            n/a                     n/a                    n/a               $0
2015                         $25,000        $25,000                       $0               $40,100            $1,378

2018 Taxable Value and Certified Taxes

Taxing Authority                     Assd Value    Exemption      Tax Value    Millage Rate           Taxes       %
Public Schools: By State Law (Rle)   $203,124      $0             $203,124     4.0510 (-4.05%)        $822.86     24 %
Public Schools: By Local Board       $203,124      $0             $203,124     3.2480 (0.00%)         $659.75     19 %
Orange County (General)              $200,940      $0             $200,940     4.4347 (0.00%)         $891.11     26 %
City Of Winter Garden                $200,940      $0             $200,940     4.5000 (5.88%)         $904.23     27 %
Library - Operating Budget           $200,940      $0             $200,940     0.3748 (0.00%)         $75.31      2%
St Johns Water Management District   $200,940      $0             $200,940     0.2562 (-5.95%)        $51.48      2%
                                                                               16.8647                $3,404.74

2018 Non-Ad Valorem Assessments

Levying Authority           Assessment Description                          Units     Rate      Assessment
There are no Non-Ad Valorem Assessments

Property Features
Property Description

GROVEHURST 63/108 LOT 96

Total Land Area

6,000 sqft (+/-)          |          0.14 acres (+/-)                 GIS Calculated

Land
Land Use Code          Zoning Land Units Unit Price Land Value Class Unit Price          Class Value
                        Case 6:19-bk-02183-KSJ Doc 8-1 Filed 04/18/19 Page 9 of 12
0100 - Single Family   PUD      1 LOT(S)      working... working...      working...      working...

Buildings

Model Code             01 - Single Fam Residence     Subarea Description         Sqft   Value
Type Code              0103 - Single Fam Class III   BAS - Base Area             1705   working...
Building Value         $154,718                      FGR - Fin Garage            400    working...
Estimated New Cost     $170,207                      FOP - F/Opn Prch            175    working...
Actual Year Built      2005
Beds                   4
Baths                  2.0
Floors                 1
Gross Area             2280 sqft
Living Area            1705 sqft
Exterior Wall          Cb.Stucco
Interior Wall          Drywall


Extra Features

Description                   Date Built         Units          Unit Price       XFOB Value
SCR2 - Scrn Enc 2             08/29/2007         1 Unit(s)      working...       working...

Sales
Sales History

           Sale     Instrument
Sale Date                       Book/Page Deed Code                  Seller(s)     Buyer(s) Vac/Imp
           Amount #
12/30/2005 $243,300 20060173609 08533 / 2265 Warranty Deed           M/I Homes Of Matos     Improved
                                                                     Orlando LLC Manuel J
                                                                                  Matos
                                                                                  Katlenn I

Similar Sales
                                Sale                                                     Instrument
Address            SaleCase
                        Date6:19-bk-02183-KSJ $/SQFT
                                               Doc 8-1 Deed   Code
                                                        Filed 04/18/19   Beds/Baths
                                                                         Page 10 of 12               Book/Page
                                Amount                                                   #
12875 Daughtery Dr 03/27/2019 $275,000        $141     Warranty          4/2             20190203824 /
                                                       Deed
12826 Grovehurst   03/19/2019 $265,000        $155     Warranty          4/2             20190166922 /
Ave                                                    Deed
12856 Grovehurst   12/05/2018 $347,800        $103     Warranty          5/3             20180746615 /
Ave                                                    Deed
12928 Grovehurst   11/30/2018 $310,000        $108     Warranty          4/2             20180718486 /
Ave                                                    Deed
1011 Emmett Ln     10/11/2018 $215,000        $63      Warranty          5/3             20180607272 /
                                                       Deed
12706 Grovehurst   10/10/2018 $380,000        $112     Warranty          5/3             20180606531 /
Ave                                                    Deed
12910 Grovehurst   07/16/2018 $260,000        $152     Warranty          4/2             20180433008 /
Ave                                                    Deed
12874 Daughtery Dr 05/31/2018 $320,000        $127     Warranty          4/2             20180327305 /
                                                       Deed
12845 Daughtery Dr 05/23/2018 $320,000        $127     Warranty          4/2             20180313286 /
                                                       Deed

Services for Location
TPP Accounts At Location

Account      Market Value       Taxable Value          Business Name(s)              Business Address
There are no TPP Accounts associated with this parcel.

Schools

Sunridge (Middle School)
 Principal                         Mrs. Patricia J Bowen-Painter
 Office Phone                      407-656-0794
 Grades                            2018: A | 2017: A | 2016: A
Sunridge (Elementary)
 Principal                         Christy Lyn Gorberg
 Office Phone                      407-656-0809
 Grades                            2018: B | 2017: C | 2016: C
West Orange (High School)
Principal                          William J Floyd
Office Phone                       407-905-2400
Grades                             2018: B | 2017: B | 2016: B
Community/Neighborhood    Association
                 Case 6:19-bk-02183-KSJ Doc 8-1      Filed 04/18/19   Page 11 of 12

Name                   Grovehurst Homeowners Association, Inc.
Gated?                 No
Number Of
                       104
Households

Utilities/Services

Electric                         Duke Energy
Water                            Winter Garden
Recycling (Tuesday)              Winter Garden
Trash                            Winter Garden
Yard Waste (Wednesday)           Winter Garden

Elected Officials

State Senate                  Randolph Bracy
US Representative             Val Demings
School Board Representative   Pam Gould
State Representative          Eric Eisnaugle
County Commissioner           Betsy VanderLey
Orange County Property
                              Rick Singh
Appraiser

Nearby Amenities (1 mile radius)

ATMS                   6
Barber Shops           1
Beauty Salons          4
Dentists Offices       3
Dry Cleaners           1
Gas Stations           1
Gyms & Fitness         1
Nail Salons            2
Optometrists Offices   1
Pharmacy               1
Restaurants            25



Market Stats
Sales Within Last 1 Year
                     Case 6:19-bk-02183-KSJ   Doc 8-1   Filed 04/18/19   Page 12 of 12

Grovehurst

              Sales Within Last 6 Months                Sales Between 6 Months To One Year
              Count Median       Average     Volume     Count Median       Average     Volume
Single Family        $292,500 $299,450                         $320,000 $299,000
              4                              $1,197,800 5                              $1,495,000
Residential          ($124/SqFt) ($127/SqFt)                   ($127/SqFt) ($116/SqFt)
